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      Fill in this information to identify the case:

                    Street Level LLC
      Debtor name _________________________________________________________________
                                                      Southern
      United States Bankruptcy Court for the: ______________________               NY
                                                                     District of _________

      Case number (If known):    20-12464 (JLG)
                                _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff

1
        A. Cruz Enterprises
        97-21 Cresskill Place                                                                                                                                $463
        Jamaica, NY 11435                         718-739-1641                      Services


2
         Alliance Glass & Door
         660 Lexington Avenue                                                                                                                                 $400
                                                  212-222-5449                      Repairs
         New York, NY 10022

3        Ark Restaurants Corp.
         85 5th Avenue, 14th Floor                 212-206-8800                         Trade                                                              $ 80,685
         New York, New York 10003

4       Broadview Networks
        800 Westchester Ave. N501                 212-775-7500                     Utilities                                                                   $859
        Rye Brook, NY 10573

5       Expert Elevators                         718-464-3400                     Repairs                                                                    $4,115
        19005 Hillside Avenue #L2
        Jamaica, NY 11423

6       Filco Carting Corp.                       718-456-5000                    Garbage                                                                     $3,404
        197 Snediker Avenue                                                       Removal
        Brooklyn, NY 11207

7      Fire Department of New York                718-999-2496                   Municipal
       9 MetroTech Center                                                                                                                                     $3,235
       Brooklyn, NY 11201

8      H&H Glass and Doors
                                           914-365-1382                            Repairs                                                                   $1,533
       13 Orange Street                    h.hglassanddoors@gmail.com
       Norwalk, CT 06850



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    Debtor
                  Street Level, LLC
                 _______________________________________________________                        Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim     Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade     claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,      contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional            unliquidated,   total claim amount and deduction for value of
                                                                         services, and           or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                 Total claim, if    Deduction for       Unsecured
                                                                                                                 partially          value of            claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff

9       HALO Branded Solutions
                                                855-425-6266                  Promo Items                                                                   $1,374
        1500 HALO Way
        Sterling, IL 61081
         M&K HVAC                             Mauro Flores Medina             Repairs &
10                                            516-754-1085                                                                                                      $0
         Attn: Mauro Flores Medina                                            Maintenance
                                              mateks@hotmail.com
         241-23 85th Road
         Bellrose, NY 11426
11     Neat Commercial Cleaning Corp.
       983 E. 88th Street                        646-806-1848                   Janatorial                                                                   $8,385
       Brooklyn, NY 11236

12      Scheman & Grant                         212-947-7844               Cleaning Supplies                                                                 $3,004
        545 Eighth Avenue
        New York, NY 10018

13      Steven Kratchman Architect, P.C.   212-944-9204 x101                                                                                                $37,125
        23 Warren St., Store #9            victoriaC@kratchmanarchitect.com      Architectual
        New York, NY 10007

14      TripleSeat Software LLC                 917-614-0490             Software Services                                                                   $1,543
        300 Baker Avenue, Suite 205
        Concord, MA 01742

15      W.B. Mason
                                                   888-926-2766               Office Supplies                                                                $2,510
        59 Centre Street
        Brockton, MA 02303
16




17




18




19




20




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